              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
                   CRIMINAL CASE NO. 1:07-cr-32

UNITED STATES OF AMERICA         )
                                 )
              vs.                )                   ORDER
                                 )
RODNEY LAMONT ALLEN              )
________________________________ )


     THIS MATTER is before the Court on the Defendant’s pro se Motions

for Reduction of Sentence filed pursuant to 18 United States Code §

3582(c)(2) and U.S.S.G. § 1B1.10(c), Amendments 780 and 782 (Nov. 1,

2014). [Docs. 304, 306].

     It appears to the Court that the Defendant has stated a colorable basis

for relief in his Motions. In addition, the Probation Office has submitted a

supplement to the Defendant’s Presentence Report indicating that he may

be entitled to immediate release. [Doc. 309]. Based thereon, the Court

determines that the United States Attorney and the Federal Defenders of

WNC, Inc., should provide the Court with their respective positions regarding

the Defendant’s Motions.

     IT IS, THEREFORE, ORDERED that no later than seven (7) days from

the entry of this Order, the United States Attorney and the Federal Defenders

of WNC, Inc., shall file pleadings responsive to Defendant’s Motions for


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Reduction of Sentence.

     IT IS SO ORDERED.
                                   Signed: March 25, 2015




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